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                      UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

IDA MARIE PEÑA,               §
                              §
      Plaintiff,              §
                              §
v.                            §                      Civil Action No. SA-16-CV-1169-XR
                              §
WAGGONER AND THOMAS ALL-CARE, §
INC. AND HASKELENE THOMAS,    §
                              §
      Defendants.             §
                              §

                                             ORDER

       On this date, the Court considered the status of the above-captioned case. After careful

consideration, the Court hereby DENIES Plaintiff’s Application for Turnover after Judgment and

Appointment of a Receiver. Docket no. 34.

                                        BACKGROUND

       On November 18, 2016, Plaintiff filed her Original Complaint against Defendants under

the Fair Labor Standards Act (“FLSA”). Docket no. 1. Plaintiff alleged that Defendants failed to

pay her required overtime pay for hours worked in excess of forty hours during each workweek in

violation of the FLSA. Id. Defendants denied that they violated the FLSA and alleged that

Plaintiff was exempt from overtime provisions. Docket no. 9. Following negotiations, the parties

reached an agreement to fully and finally resolve their dispute. Docket no. 31.

       On November 7, 2017, the Court granted Plaintiff’s Unopposed Motion to Approve

Consent Judgment and Approve Settlement. Docket no. 32. On the same date, the court entered a

Final Judgment in favor of Plaintiff, awarding her $18,000.00, and named Defendants jointly and

severally liable. Docket no. 33.
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       On April 19, 2018, Plaintiff filed her Application for Turnover after Judgment and

Appointment of a Receiver, claiming that although Defendants made two payments under the

agreed payment plan, they have missed three scheduled payments. Docket no. 34. Plaintiff

requests the appointment of a receiver and that Defendants be ordered to turn over any and all

non-exempt property to satisfy the balance of the settlement agreement amount. Id.

                                           ANALYSIS

       “Federal courts are courts of limited jurisdiction” that “possess only that power authorized

by Constitution and statute.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377

(1994). “Enforcement of [a] settlement agreement . . . is more than just a continuation or renewal

of the dismissed suit, and hence requires its own basis for jurisdiction.” Id. at 378. A court’s

“ancillary jurisdiction” “to manage its proceedings, vindicate its authority, and effectuate its

decrees” provides an independent jurisdictional basis to enforce a settlement agreement only if

“the parties’ obligation to comply with the terms of the settlement agreement ha[s] been made

part of the order of dismissal.” Id. at 380–81. The Kokkonen Court identified two ways by which

a court may make a settlement agreement part of its dismissal order: “either by separate provision

(such as a provision ‘retaining jurisdiction’ over the settlement agreement) or by incorporating the

terms of the settlement agreement in the order.” Id.

       In the present case, the Court’s Final Judgment clearly does not include any provision that

states the Court retained jurisdiction to enforce the settlement agreement. Also, the Final

Judgment does not incorporate the terms of the settlement agreement to confer jurisdiction upon

the Court to enforce the settlement agreement. The Final Judgment only awards a judgment in

Plaintiff’s favor against Defendants, identifies the amount Plaintiff is awarded, indicates the

relevant interest rate, and states that all writs and process for enforcement and collection may

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issue as necessary. Docket no. 33 at 1. The Final Judgment concludes by stating that “any relief

not expressly granted is DENIED.” Id. at 2.

       Even in cases where a settlement agreement is attached to a court’s dismissal order, that

action alone does not confer jurisdiction on the court to enforce the settlement agreement. Hosp.

House, Inc. v. Gilbert, 298 F.3d 424, 431 (5th Cir. 2002) At most, “physical attachment of a

settlement agreement to a dismissal order evinces the district judgment’s ‘awareness and approval

of the terms of the settlement agreement,’ which ‘do not suffice to make them part of this order.’”

Id. (quoting Kokkonen, 511 U.S. at 381). Accordingly, because the Court’s Final Judgment does

not confer jurisdiction on the Court to enforce the settlement agreement, Plaintiff’s application

must be denied.

                                        CONCLUSION

       For the foregoing reasons, Plaintiff’s Application for Turnover after Judgment and

Appointment of a Receiver (Docket no. 34) is DENIED for lack of jurisdiction.

       It is so ORDERED.

       SIGNED this 7th day of May, 2018.




                                              XAVIER RODRIGUEZ
                                              UNITED STATES DISTRICT JUDGE




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